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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO

Wendy Berry, Lorri Hulings, and Kathleen
Sammons, individually and as representatives of a                Case No. 1:18-cv-00326
class of similarly situated persons, and on behalf of
the FirstGroup America, Inc. Retirement Savings                  Judge Matthew W. McFarland
Plan,

                       Plaintiffs,
v.

FirstGroup America, Inc., FirstGroup America, Inc.
Employee Benefits Committee, and Aon Hewitt
Investment Consulting, Inc.,

                       Defendants.


     PLAINTIFFS’ UNOPPOSED MOTION TO EXTEND PAGE LIMITS FOR THEIR
                  SUMMARY JUDGMENT RESPONSE BRIEFING

       Plaintiffs Wendy Berry, Lorri Hulings, and Kathleen Sammons (“Plaintiffs”) hereby

move for an order to increase the page limit for the memorandum in opposition to the FGA

Defendants’ Motion for Summary Judgment from twenty pages to twenty-five pages.

       In support of this motion, Plaintiffs state as follows:

       1.     On October 6, 2022, the FGA Defendants filed a motion requesting an additional

five pages for their brief in support of their motion for summary judgment. ECF No. 93.

       2.     The Court granted the FGA Defendants motion on October 11, 2022.

       3.     On October 14, 2022, the FGA Defendants filed their motion for summary

judgment. ECF No. 107. The FGA Defendants’ brief in support of their motion was twenty-five

pages. ECF No. 108.

       4.     S.D. Ohio Civ. R. 7.2 provides that a “Judge may impose page limitations in any

action by standing order.” Pursuant to Section III.A.4 of the Court’s Standing Order Regarding
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Procedures in Civil Cases, “memoranda in support of . . . to any motion or application to the

Court shall not exceed twenty pages without first obtaining leave of court.”

       5.      Plaintiffs anticipate that they will need five additional pages to fully respond to

the FGA Defendants’ arguments.

       6.      The FGA Defendants do not oppose this motion.


Dated: October 24, 2022                      Respectfully submitted,


                                             NICHOLS KASTER, PLLP
                                             By: /s/ Brock J. Specht
                                             Paul J. Lukas, admitted pro hac vice
                                             Brock J. Specht, admitted pro hac vice
                                             Matthew H. Morgan, admitted pro hac vice
                                             Anna P. Prakash, admitted pro hac vice
                                             Steven J. Eiden, admitted pro hac vice
                                             Patricia C. Dana, admitted pro hac vice
                                             4700 IDS Center
                                             80 S 8th Street
                                             Minneapolis, MN 55402
                                             Telephone: 612-256-3200
                                             Facsimile: 612-338-4878
                                             lukas@nka.com
                                             bspecht@nka.com
                                             morgan@nka.com
                                             aprakash@nka.com
                                             seiden@nka.com
                                             pdana@nka.com

                                             FREKING MYERS & REUL
                                             George M. Reul, Jr. (OH 0069992)
                                             600 Vine Street, Suite 900
                                             Cincinnati, Ohio 45202
                                             Telephone: 513-721-1975
                                             Facsimile: (513) 651-2570
                                             greul@fmr.law

                                             ATTORNEYS FOR PLAINTIFFS




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                               CERTIFICATE OF SERVICE

The undersigned hereby certifies on this 24th day of October, 2022, that the undersigned

electronically filed and served the foregoing document through this Court’s ECF system.


                                                                  /s/ Brock J. Specht
                                                                  Brock J. Specht




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